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     Attorney for Defendant
 5   Nicholas Ramirez
 6                      IN THE UNITED STATES DISTRICT COURT
 7                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,            )   Case No. Cr.S 11-190 MCE
                                          )
10                Plaintiff,              )   STIPULATION AND ORDER MODIFYING
                                          )   CONDITIONS OF RELEASE
11       vs.                              )
                                          )   ORDER
12   NICHOLAS RAMIREZ,                    )
                                          )
13                Defendant               )
                                          )
14

15
         By this Court’s previous order the above named defendant
16
     was granted pre-trial release with conditions. For the following
17
     reasons, and due to a change in circumstance, it is requested
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19
     that his pre-trial release be revoked. He has, however,

20   previously requested a waiver of personal appearance, with which

21   this Court has agreed. Defendant specifically requests that his

22   waiver of personal appearance continue to be honored until such

23   time as his presence is mandated, or by other order of this
24   Court.
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 1       As this Court may recall, Mr. Ramirez was charged with
 2   multiple counts of drug and drug related offenses in the Western
 3
     District of Arizona. He pled guilty and was sentenced to the
 4
     Bureau of Prisons to serve a term of approximately 15 years. He
 5
     is currently serving his term in a prison in Arizona.
 6
         Since Mr. Ramirez is currently serving his time in prison,
 7
     it is appropriate that he not be on pretrial release in this
 8
     Court. Pre-trial services has been consulted and agrees.
 9
         DATED:    September 21, 2015         Respectfully submitted,
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11

12
                                              /s/Michael B. Bigelow
                                              MICHAEL B. BIGELOW
13                                            Attorney for Defendant Ramirez

14
     IT IS SO STIPULATED
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16   /S/ JASON HITT
     Jason Hitt, Esq.,                        Dated: September 21, 2015
17   Assistant United States Attorney
     Attorney for Plaintiff
18

19

20
     /S/MICHAEL B. BIGELOW                    Dated: September 21, 2015
     Michael B. Bigelow
21   Attorney for Defendant
     Nicholas Ramirez
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 1                                        ORDER
 2       IT IS ORDERED that pursuant to stipulation and for good
 3
     cause shown defendant’s conditions of pretrial release, and
 4
     release are revoked.
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         IT IS SO ORDERED.
 6
     Dated:     September 24, 2015
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